               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION



    JOHN NAVELSKI, LINDA
    NAVELSKI, ERICK
    ALEXANDER, JACOB
    HUTCHINS, AMBER
    HUTCHINS, JEANNE
    HENDERLY, RICHARD
    BULLARD, and BEVERLY
    BULLARD, on their own behalf
    and those others similarly situated,

         Plaintiffs,

    v.                                      Case No. 3:14-cv-00445
                                            MCR/CJK
    INTERNATIONAL PAPER
    COMPANY,

         Defendant.


  DEFENDANT INTERNATIONAL PAPER COMPANY’S MOTION IN
 LIMINE TO EXCLUDE EVIDENCE OF DAMAGES FROM THE CLASS
      TRIAL AND INCORPORATED MEMORANDUM OF LAW

      Defendant International Paper Company (“IP”) respectfully moves in limine

for an order excluding evidence of damages from the class trial. In support of this

motion, IP submits the following memorandum of law.
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                                 INTRODUCTION

      The Court has certified an issues class to resolve the common aspects of

Plaintiffs’ claims and bifurcated damages issues for separate proceedings. The

class jury will determine whether IP is legally responsible for all of the flooding

within the class area on April 29–30, 2014. If the jury finds IP legally responsible

for all of the flooding, damages will be determined on an individual basis in

subsequent proceedings.

      Although the class trial will be limited to questions about IP’s conduct and

the cause of the flooding, IP anticipates that Plaintiffs will seek to introduce

evidence regarding individual class members’ alleged emotional, physical, and

economic damages during the class trial. The Court should exclude damages

evidence from the class trial because that evidence is irrelevant to the issues to be

decided during this phase of the case and because any probative value is

substantially outweighed by the danger of unfair prejudice, confusing the issues,

misleading the jury, and undue delay.

                            PROCEDURAL HISTORY

      From the outset of this case, the Court has distinguished between common

issues potentially susceptible to resolution on a class-wide basis and claimant-

specific damages issues that can only be resolved in individual proceedings.




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      That distinction is reflected in this Court’s Final Scheduling Order, which

divided discovery in this case into two phases. The first phase was limited to

liability and class-wide damages. ECF No. 41 at 1. The second phase will

“encompass individual damages questions.” Id. at 2.

      At the end of the first phase of discovery, IP filed a motion to exclude

testimony from Plaintiffs’ expert on so-called “stigma” damages, which were the

only class-wide damages that Plaintiffs asserted, ECF No. 77, as well as an

accompanying motion for partial summary judgment on stigma damages, ECF No.

81. The Court granted IP’s motion to exclude Plaintiffs’ expert on stigma damages

as well as IP’s motion for partial summary judgment, explaining that “there [was]

no admissible evidence that stigma damages in this case are capable of

measurement on a classwide basis.” ECF No. 93 at 38–39, 59–60.

      In contrast, the Court concluded that, on the question whether IP is legally

responsible—i.e., “liable”—for the flooding, common issues predominated, and it

certified an issues class under Federal Rule of Civil Procedure 23(c)(4) to resolve

that question. ECF No. 93 at 58. Because stigma damages were the only class-

wide damages that Plaintiffs asserted, the Court emphasized that “if Plaintiffs

establish liability, computation of damages will be a property-specific endeavor”

pursued in “individual trials as to damages.” Id. at 55, 56.




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      In a subsequent order, the Court reiterated that damages will not be resolved

during the class proceedings: “[T]he liability jury will not be required to decide

any issues concerning damages when considering causation. Instead, on this

record, the liability jury only need determine whether or not all of the flooding

experienced by Plaintiffs was caused by the failure of the Kingsfield Road Dam.”

ECF No. 105 at 11 (emphasis in original).

                                    ARGUMENT

      Despite this Court’s unambiguous rulings that damages issues will not be

resolved on a class-wide basis, IP anticipates that Plaintiffs will attempt to

introduce evidence bearing on individual class members’ damages during the class

trial. The Court should exclude that evidence.

I.    IP Anticipates That Plaintiffs Will Seek To Introduce Evidence
      Regarding Damages During The Class Trial.
      During their depositions and at the evidentiary hearing, class members

provided testimony about emotional distress, physical harm, and economic losses

that is relevant, if at all, only to the issue of individual damages.

      A number of class members testified about the emotions they experienced

during the flood. For example, several class members described feeling panic and

fear when their homes started to flood on the evening of April 29, 2014. See, e.g.,

Ex. A, Cindy Kersey Dep. 22:3–11 (stating that she “panicked” when she first saw

water in her home); Ex. B, Linda Navelski Dep. 49:16–50:1 (recalling that she was


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scared when her daughter ran into her bedroom “hollering that water was coming

in the house”); Ex. C, Amber Hutchins Dep. 69:21–70:11 (testifying that she was

in “shock” when she discovered water in her home). Class members also

described efforts to save pets and prized possessions. See, e.g., Ex. D, Beverly

Bullard Dep. 96:1–7 (stating that, as more water came into her home, she and her

husband had to place their two small dogs on top of their kitchen cabinets); Ex. E,

Jacob Hutchins Dep. 51:4–9 (“I was trying to grab a few pictures. I grabbed our

television, a couple of small electronics . . . . There really wasn’t much time.”).

       One class member, Amber Hutchins, recounted that, as the water levels rose,

she and her husband gave each one of their children a clothes hamper and “told

them to fit whatever clothes they could in it and whatever favorite toys.” Ex. C,

Amber Hutchins Dep. 79:1–8. The children, she added, were “really scared.” Id.

at 79:7–8. Another class member, Jeanne Henderly, brought a photograph to her

deposition of people standing in floodwater, with a small child’s feet in the

foreground. Ex. F, Exhibit 10 to Jeanne Henderly Dep. at 10. The photograph is

included on Plaintiffs’ exhibit list for trial.

       Class members also testified that they feared for their lives. When David

Pavlock was asked whether he or his wife received an electrical shock from

wading through the floodwater, he answered, “No, but we sure as hell were scared

that that would happen.” Ex. G, David Pavlock Dep. 39:4–8. Later in his



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deposition, he said, “we didn’t know if we [were] going to get electrocuted or

drown[].” Id. at 42:25–43:1. Beverly Bullard’s husband, Richard Bullard, testified

that during the flood, his wife “was worried about dying.” Ex. H, Richard Bullard

Dep. 6:13–25; see also id. at 35:8–15 (“We had been calling 911 every 30

minutes.”). Linda Navelski recalled that, as the water levels rose, her grandson

kept saying, “I don’t want to die. I don’t want to die.” Ex. B, Linda Navelski Dep.

68:21–69:7. Linda Navelski also brought a photograph to her deposition of the

boat that her neighbor used to rescue the Navelski family. Ex. I, Exhibit 8 to Linda

Navelski Dep. at 6. The photograph is on Plaintiffs’ exhibit list. And when

Richard Tarbox was asked if the April 2014 flood was “more traumatic” than a

previous flood, he answered, “Very much so. . . . one of the twins still won’t talk

about it. Um, it—just a minute. (Witness crying.) My wife and the youngest, they

believed that they were going to die that night.” Ex. J, Richard Tarbox Tr. 154:19–

155:1.

         Several class members testified that they or their family members were

physically injured during the flood. For example, John Navelski said that after the

flood, his wife and daughter were covered in scrapes and bruises. Ex. K, John

Navelski Dep. 73:14–25. Richard Tarbox stated that his son had to get stiches for

a “gash” on his foot and that his mother-in-law had hypothermia. Ex. L, Richard

Tarbox Dep. 56:11–59:3.



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      In describing the aftermath of the flood, several class members testified

about the damage to their homes, as well as the damage to the neighborhood. See,

e.g., Ex. K, John Navelski Dep. 71:2–15 (detailing the extensive repairs to his

home, which totaled over $200,000); Ex. M, Jeanne Henderly Dep. 50:17–51:10

(testifying about the “tremendous” damage to Bristol Park properties); id. at 63:8–

16 (recalling her “shock” and “devastat[ion]” at seeing damaged property on yards

and sidewalks). Plaintiffs’ exhibit list includes a photograph of residents’

belongings piled outside their homes after the flood water receded, Ex. N,

NAVELSKI_00030165, as well as a post-flood photograph of an overturned

vehicle in the neighborhood, Ex. O, NAVELSKI_00030172. Class members also

testified about having to stay in hotels while their homes were repaired. See, e.g.,

Ex. P, Cindy Kersey Tr. 186:14–18 (stating that she stayed “off and on in hotels”

for nine months).

      As explained below, none of this evidence about individual class members’

damages is relevant to the certified issues to be decided in the class trial, and all of

it poses a danger of unfair prejudice, misleading the jury, confusing the issues, and

undue delay.




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II.   Evidence Of Damages Is Not Relevant To The Issues In The Class Trial.
      The Court should exclude all evidence regarding class members’ damages

from the class trial because that individualized evidence is irrelevant to the

certified issues to be decided by the class jury.

      Evidence is admissible only if it is relevant, see Fed. R. Evid. 402, which

means that it must have a “tendency to make a fact more or less probable than it

would be without the evidence” and that the fact “is of consequence in determining

the action.” Fed. R. Evid. 401. The phrase “of consequence in determining the

action” refers to “the kind of fact to which proof may properly be directed.” Fed.

R. Evid. 401 Advisory Committee’s Notes to 1972 Proposed Rules.

      At a trial limited to determining IP’s legal responsibility for the flooding, the

fact that class members may have sustained emotional, physical, or economic

damages is not one to which proof may properly be directed. See, e.g., Young v.

Cty. of Cook, No. 06 C 552, 2009 WL 2231782, at *9 (N.D. Ill. July 27, 2009)

(“Plaintiffs’ motion to bar evidence or argument about damages is granted without

objection; this is a liability-only trial.”). The question for the class jury is limited

to whether IP is legally responsible for all of the flooding within the class area,

which will require the jury to resolve issues about IP’s conduct and “whether or

not all of the flooding experienced by Plaintiffs was caused by the failure of the

Kingsfield Road Dam.” ECF No. 105 at 11 (emphasis in original). Because “the



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liability jury will not be required to decide any issues concerning damages when

considering causation,” id.—or when considering any of the issues regarding IP’s

conduct—evidence of class members’ damages is not relevant to the class trial.

      To be sure, evidence of the timing of the flooding of class members’

properties may be relevant to the issue of causation that will be decided during the

class trial. See, e.g., Ex. D, Beverly Bullard Dep. 81:23–82:2, 117:8–14 (stating

that the water started entering her home at 9:45 p.m., peaked before midnight, and

started receding around 2:00 or 3:00 a.m.). Evidence of the extent of the flooding

of class members’ properties also may be relevant to the issue of causation. See,

e.g., id. at 101:4–7 (stating that the water rose to between 5 ½ and 6 feet). IP has

proposed that the parties stipulate to facts about the timing and extent of the

flooding for this reason. If Plaintiffs are unwilling to stipulate to these facts, they

can introduce evidence of the timing and extent of the flooding, but they must do

so without also introducing evidence about emotional, physical, or economic

damage to the individual class members. See, e.g., Ex. Q, Erick Alexander Tr.

140:3–8 (describing a search and rescue team with “ropes and axes and life vests”);

Ex. B, Linda Navelski Dep. 67:12–16 (describing a house of rescued residents and

recalling that “[e]verybody was scared”); Ex. R, David Pavlock Tr. 171:25–172:4

(stating that he stayed at a motel for twelve weeks); Ex. C, Amber Hutchins Dep.

29:1–11 (describing the gutting of her home).



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       Because evidence regarding damages has no relevance to the issues in the

class trial, the Court should enter an order excluding evidence of damages from

that proceeding.

III.   Any Probative Value Of Evidence Of Damages Is Substantially
       Outweighed By The Danger Of Unfair Prejudice, Confusing The Issues,
       Misleading The Jury, And Undue Delay.

       Even if evidence of class members’ individual damages did have some

marginal relevance to the issues in the class trial, it would still warrant exclusion

because the prejudicial impact of that evidence far outweighs any conceivable

probative value.

       The Court may “exclude relevant evidence if its probative value is

substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,

misleading the jury, [or] undue delay.” Fed. R. Evid. 403. Although the Court

should be “cautious” in excluding relevant evidence, United States v. Mills, 704

F.2d 1553, 1560 (11th Cir. 1983) (citation omitted); Link v. Hall, No.

3:08cv327/MCR/MD, 2011 WL 13232375, at *1 (N.D. Fla. Feb. 4, 2011), the

Court’s discretion under Federal Rule of Evidence 403 remains “wide,” Wilson v.

Attaway, 757 F.2d 1227, 1242 (11th Cir. 1985). The evidence of damages that IP

anticipates that Plaintiffs will attempt to introduce during the class trial poses a

serious danger of unfair prejudice, confusing the issues, misleading the jury, and

undue delay that substantially outweighs any probative value.



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      “‘Unfair prejudice,’” within the context of Rule 403, “means an undue

tendency to suggest decision on an improper basis, commonly, though not

necessarily, an emotional one.” Fed. R. Evid. 403 Advisory Committee’s Notes to

1972 Proposed Rules; see also Bryan v. Whitfield, No. 3:14-cv-341/MCR/EMT,

2015 WL 4429337, at *3 (N.D. Fla. July 18, 2015) (same). Plaintiffs’ evidence of

damages poses a significant risk of eliciting an emotional response from the jury.

Class members testified about experiencing panic when they first saw water

entering their homes, see, e.g., Ex. A, Cindy Kersey Dep. 22:3–11, and about

fearing that they and their loved ones would die as the water levels rose, see, e.g.,

Ex. J, Richard Tarbox Tr. 154:19–155:1; Ex. H, Richard Bullard Dep. 6:13–25; Ex.

G, David Pavlock Dep. 39:4–8. They testified about trying to move their pets and

prized possessions to safety as soon as possible. See, e.g., Ex. D, Beverly Bullard

Dep. 96:1–7; Ex. E, Jacob Hutchins Dep. 51:4–9; Ex. S, Jacob Hutchins Tr. 111:8–

17. And they testified about instructing their children to do the same by placing

their clothes and favorite toys in clothes hampers. Ex. C, Amber Hutchins Dep.

79:1–8. A photograph of people standing in floodwater, with a small child’s feet

in the foreground, is on Plaintiffs’ exhibit list. Ex. F, Exhibit 10 to Jeanne

Henderly Dep. at 10. Class members also testified about repeated 911 calls and

dramatic rescues. See, e.g., Ex. H, Richard Bullard Dep. 34:25–35:15; Ex. I,




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Exhibit 8 to Linda Navelski Dep. at 6 (photograph of rescue boat on Plaintiffs’

exhibit list).

       Several class members described physical injuries that they and their family

members sustained during the flood, including scrapes, gashes, and hypothermia.

See, e.g., Ex. K, John Navelski Dep. 73:14–25; Ex. L, Richard Tarbox Dep. 56:11–

59:3. Other testimony focused on the emotional toll that the flood took on class

members. See, e.g., Ex. J, Richard Tarbox Tr. 154:19–155:1; Ex. A, Cindy Kersey

Dep. 32:19–21 (“Q: Were you at all injured during the flood? Did you receive any

sort of injuries?”; “A: No. Mental.”).

       None of this evidence is admissible during the class trial because any scant

probative value it might have is vastly outweighed by the likelihood that the jurors

exposed to this type of evidence will reach a verdict based on their emotional

reactions and their sympathies for Plaintiffs rather than on the evidence of whether

IP is legally responsible for all of the flooding. This emotionally charged,

sympathy-inducing evidence is exactly the type of material that Rule 403 was

intended to exclude. And although IP anticipates that Plaintiffs will attempt to

introduce evidence of class members’ emotional distress to explain why some class

members have imperfect recollections of the flood, the prejudicial impact of that

evidence far outweighs the probative value, unless the details that the class

members cannot remember are relevant to the issues to be decided in the class trial,



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unless there are specific challenges to the class members’ credibility, and unless

there is not a less prejudicial means to inform the jury that the class members may

have imperfect recollections. Evidentiary questions such as these—if they arise—

are best resolved within the context of trial.

      Moreover, the introduction of evidence of damages at the class trial—where

the issues pertain exclusively to IP’s conduct and the cause of the flooding—poses

an unacceptable danger of confusing the issues and misleading the jury that

substantially outweighs any probative value of this evidence. And time spent

giving limiting instructions about the purposes for which the evidence could be

considered not only would unduly delay the proceedings but would also be wholly

ineffective at eliminating the prejudicial taint of this emotionally laden evidence.

The only way to ensure a fair trial is to exclude all evidence of class members’

damages from the class trial.

                                   CONCLUSION

      The Court should exclude all evidence of damages from the class trial—

including, but not limited to, testimony about emotional distress, testimony about

physical injury, and testimony about displacement and damage to real and personal

property, as well as photographs of children in flooded homes, photographs of

rescue boats, and photographs of damaged items—because it is irrelevant and




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because any probative value is substantially outweighed by the danger of unfair

prejudice, confusing the issues, misleading the jury, and undue delay.

Dated: January 19, 2018                      Respectfully submitted,

                                             /s/ Daniel W. Nelson
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      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(B)

      I hereby certify that counsel for Defendant conferred with counsel for

Plaintiffs, and Plaintiffs oppose the relief sought in this motion.


                                        /s/ Daniel W. Nelson
                                        Daniel W. Nelson



      CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)

      I hereby certify that this memorandum contains 3,085 words and therefore

complies with the word limit set forth in Local Rule 7.1(F).


                                        /s/ Daniel W. Nelson
                                        Daniel W. Nelson



                          CERTIFICATE OF SERVICE

      I hereby certify that on the 19th day of January, 2018, the foregoing

document was filed using the Court’s CM/ECF system. In addition, (1) the filing

is available for viewing and downloading via the CM/ECF system, and (2) the

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                                        /s/ Daniel W. Nelson
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